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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
IRIS CHAMBERS                          :         Civil No. 1:18-CV-2386
and LAMAR DeSHIELDS,                   :
                                       :
                    Plaintiffs,        :
                                       :
              v.                       :
                                       :
YORK COUNTY PRISON,                    :
CLAIR DOLL, individually and in her :
official capacity as Warden of York    :
County Prison,                         :
MARY SABOL, individually and in :
her official capacity as former Warden :
of York County Prison,                 :
and JOHN DOES 1-10,                    :
                                       :
                    Defendants.        :         Judge Sylvia H. Rambo

                                     ORDER

      The background of this order is as follows: On December 17, 2018, Plaintiffs

filed a complaint. (Doc. 1.) On February 26, 2019, Defendant York County Prison

filed a motion to dismiss and a brief in support thereof. (Docs. 5-6.) Plaintiffs timely

filed an amended complaint, which added Defendants Clair Doll, Mary Sabol, and

John Does 1-10 on April 2, 2019. (Doc. 9.)

      While the filing of the amended complaint may have cured certain issues

raised in Defendant York County Prison’s motion to dismiss, it does not vacate the

outstanding motion. Accordingly, IT IS HEREBY ORDERED that:
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         1) By April 9, 2019, Defendant York County Prison shall withdraw,

            amend, or stand on the currently filed motion to dismiss (Doc. 5). See

            Fed. R. Civ. P. 15(a)(1)(3).

         2) If Defendant York County Prison files an amended motion, or elects to

            stand on the currently filed motion, Plaintiffs shall file a responsive

            brief within fourteen days thereafter.



                                                s/Sylvia H. Rambo
                                                SYLVIA H. RAMBO
                                                United States District Judge

Dated: April 2, 2019
